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                    UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division

UNITED STATES OF AMERICA           :
                                   :
v.                                 :    Criminal Case No. 1:18-CR-457-AJT-1
                                   :
BIJAN RAFIEKIAN, et al.            :


     DEFENDANT RAFIEKIAN’S REPLY MEMORANDUM OF LAW IN FURTHER
     SUPPORT OF HIS RENEWED MOTION FOR A NEW TRIAL PURSUANT TO
               FEDERAL RULE OF CRIMINAL PROCEDURE 33
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                                 PRELIMINARY STATEMENT

       Rule 33 permits the court to grant a new trial “if the interest of justice so requires.” FED.

R. CRIM. P. 33(a). Rather than defend the verdict as “just,” however, the government attempts to

erect one roadblock after another to this Court’s deliberate and considered review: purported

waiver, ex parte legal argument, discretion-less “discretion,” and even a cryptic “privilege” the

government refuses to publicly reveal. Rafiekian should not be forced to argue for his liberty with

one hand tied behind his back.

       Although the government tries to complicate Rafiekian’s arguments, his case for a new

trial is straightforward: The government’s use of the deficient CIPA summary in closing argument

to equate Rafiekian with a bank robber deprived him of a fair trial. The government’s use exposed

the numerous ways in which the summary was deficient. Not only did that opaque substitution

put Rafiekian to an impossible choice regarding whether to introduce the summarized evidence, it

deprived him of the obvious opportunity to support his defense by contextualizing the evidence—

such as by using it to examine or cross-examine Michael Flynn, the CEO of the Flynn Intel Group

(“FIG”), who was never charged with a Turkey-related crime (and who was only belatedly accused

of being Rafiekian’s co-conspirator). Still worse, although the summary was theoretically meant

to provide information that was “exculpatory or helpful or favorable to the Defendant,” Order at

2, ECF No. 404, the government then relied on that evidence during its rebuttal closing argument

to imply that Rafiekian joined Flynn’s conspiracy—and later argued that the jury “did” rely on that

“critical[]” evidence to convict. Opp. at 13-14, ECF No. 365. Given that the Government’s case

was (as this Court recognized during trial) “very circumstantial” and “very speculative,” Trial Tr.

850:24–851:2 (July 18, 2019), ECF No. 334, Rafiekian’s total inability to respond to the

government’s insinuations regarding information it alone possessed likely made the difference

between guilt and innocence. Indeed, this Court has already recognized the “substantial danger
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that the jury drew inferences against Rafiekian” based on Flynn’s involvement, “particularly given

the Government’s use of Defendant’s Exhibit 66 to support its claim that Rafiekian participated in

the alleged conspiracy, even though the information in that exhibit related solely to Flynn and

explicitly excluded Rafiekian.” Mem. Op. at 37, ECF No. 372. That “substantial danger” warrants

a new trial.

        In addition, this Court should accept the Fourth Circuit’s invitation to provide “additional

justifications” for its decision to grant a new trial on weight-of-the-evidence grounds. In opposing

that relief, the government’s primary tactic is to rely on the Fourth Circuit’s Rule 29 analysis. But,

unlike the deferential Rule 29 standard, this Court’s discretion to grant a new trial under Rule 33

is much broader: the Court is free to draw inferences unfavorable to the government, to make

credibility judgments, to consider evidence introduced by Rafiekian, and to decide for itself, based

on its superior trial vantage point, whether the jury’s verdict was inconsistent with the great weight

of the evidence. This Court should reject the government’s attempt to render this Court’s new-

trial “discretion” illusory.

        Finally, the government improperly shifted the burden of proof to Rafiekian—first through

its examination of its lead case agent, and then by arguing in closing that Rafiekian did not “choose

to put in” “a single shred of evidence” to rebut certain government facts. For that reason, and each

of the other two independent reasons, a new trial is warranted.

                                           ARGUMENT

 I.     THE GOVERNMENT’S USE OF DX66 VIOLATED RAFIEKIAN’S RIGHT TO A
        FAIR TRIAL

        A.      CIPA’s Procedures Cannot Be Used to Deprive A Defendant Of A Fair Trial.

        The fundamental purpose of a CIPA substitution is to “provide the defendant with

substantially the same ability to make his defense as would disclosure of the specific classified


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information.” United States v. Fernandez, 913 F.2d 148, 157 (4th Cir. 1990). Although CIPA

provides procedures to protect improper disclosure of sensitive information, that interest does not

trump a defendant’s constitutional right to a fair trial. See United States v. Sedaghaty, 728 F.3d

885, 905 (9th Cir. 2013) (overturning conviction in which CIPA summaries “unfairly colored

presentation of the information” and “omitted facts helpful to [his] defense”); United States v.

Moussaoui, 382 F.3d 453, 476 (4th Cir. 2004) (“[T]he Executive's interest in protecting classified

information does not overcome a defendant's right to present his case.”); see also S. Rep. No. 96-

823, at 9 (1980), reprinted in 1980 U.S.C.C.A.N. 4294, 4302 (under CIPA, “the defendant should

not stand in a worse position, because of the fact that classified information is involved, than he

would without” CIPA). Even if a privilege (such as “the state secrets privilege”) applies, the court

still “must determine whether the evidence is ‘relevant and helpful to the defense of an accused,’”

and authorize a substitution only if it gives the defendant the “same ability” to defend himself as

would disclosure. Sedaghaty, 728 F.3d at 904 (quoting Roviaro v. United States, 353 U.S. 53, 60–

61 (1957)). That requirement “arises out of the Constitution’s guarantee that all criminal

defendants must have ‘a meaningful opportunity to present a complete defense.’” Id. at 904-905

(quoting Holmes v. South Carolina, 547 U.S. 319, 324 (2006)).

       Thus, when use (or misuse) of CIPA’s procedures result in a failure to adequately protect

the defendant’s rights, courts do not hesitate to step in. For example, in United States v. Fernandez,

the Fourth Circuit affirmed the dismissal of an indictment with prejudice because, among other

reasons, the government’s proposed substitutions for classified information were inadequate: they

were “extremely abbreviated,” “spoke in general terms,” and omitted information that was

essential to the defense. 913 F.2d at 158. Specifically, the substitutions prevented the defense

from demonstrating “integral relationship[s]” that could dispute the government’s version of



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events and support the defense’s, and thus precluded the defense from “present[ing] a coherent

case of its own, since it would be shackled to a script written by the prosecution.” Id. (alteration

in original); see id. (noting that “substitutions would have required the jury to judge [the

defendant’s] role . . . , and thus the truth of his statements about it, in a contextual vacuum”).

       Similarly, in United States v. Sedaghaty, the Ninth Circuit reversed a conviction based in

part on its review of an incomplete summary provided under CIPA that distorted the underlying

classified material. 728 F.3d at 903-907. The government’s summary, approved by the trial court,

failed to disclose exculpatory “information that [was] helpful to [the] defense” and failed to

provide “crucial context for certain information that it does convey.” Id. at 906. After reviewing

the underlying classified information, the court held that “[i]t would be illogical to conclude that

a substitution that excludes non-cumulative exculpatory information could provide the defendant

with substantially the same ability to make his defense as would disclosure of the specific classified

information[.]” Id. (internal quotation marks omitted).

       B.      The Government’s Inadequate CIPA Summary, And Prejudicial Use Of That
               Summary In Closing Argument, Demands A New Trial

       Although Rafiekian’s cleared counsel still has had no access to the underlying classified

information, the CIPA summary was, in theory, apparently supposed to provide “exculpatory or

helpful or favorable [information] to the Defendant.” Order at 2, ECF No. 404. But as the trial

showed, that summary proved wholly inadequate in practice, as confirmed by the government’s

prejudicial use of DX66 in closing argument.

       Relying on the context of the government’s eve-of-trial production of DX66—namely that

it was meant to be favorable to the accused—Rafiekian’s counsel introduced it to the jury as

evidence by reading it aloud (as there was no witness to contextualize it). But Rafiekian was given

a classic Hobson’s choice: either “accept the government’s deficient summary or none at all.”

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Sedaghaty, 728 F.3d at 907; see id. (declining to fault defense counsel for failure to introduce

“slanted and unhelpful summary”). As in Fernandez, the summary that Rafiekian received, while

supposedly “helpful to [his] defense,” was an “extremely abbreviated” one-sentence summary.

913 F.2d at 154, 158. The timing of the production gave Rafiekian no meaningful opportunity to

investigate its value. The substance gave Rafiekian no opportunity to actually use the “helpful”

information. He was provided no information with respect to witnesses to call to place the

information in context. And, indeed, his lawyers could not question Rafiekian himself about them.

       Theoretically, information about communications made involving Flynn “without any

reference” to Rafiekian could have been useful to Rafiekian’s trial strategy. DX66. After all,

Flynn’s involvement in the FIG/Inovo engagement “paralleled” or even “exceeded that of

Rafiekian.” Mem. Op. at 29 n.44, ECF 372; see id. (noting that Flynn “engaged in conversations

directly with [Alptekin], issued the op-ed, participated in the meeting with Turkish government

officials on September 19, 2016, and was designated as the lead on FIG's engagement with Inovo”).

But without any context surrounding DX66, Rafiekian’s counsel was unable to fully develop

informed arguments and present an effective defense. See United States v. Aref, 533 F.3d 72, 80

(2d Cir. 2008) (“To be helpful or material to the defense, evidence need not rise to the level that

would trigger the Government’s obligation under Brady v. Maryland, 373 U.S. 83 (1963), to

disclose exculpatory information.”); see also United States v. Mejia, 448 F.3d 436, 457 (D.C. Cir.

2006) (“[I]nformation can be helpful without being ‘favorable’ in the Brady sense.”). Indeed,

Rafiekian’s counsel has been forced to speculate even about the nature of the privilege the

government invokes, and the legal arguments the government makes, in the “separate ex parte

statement, [it] filed in camera.” Opp. at 5.




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       Rafiekian’s prejudice was confirmed when the government seized on DX66 in its rebuttal

closing argument, characterizing it as inculpatory evidence that Rafiekian joined a preexisting

conspiracy masterminded by Flynn. See Gov’t Rebuttal Arg., Tr. Trans. at 1182–83 (July 22,

2019), ECF No. 351 (describing fictional bank robbers “Tom,” “Dick,” and “Harry,” and arguing

that while DX66 did not mention “Harry” (i.e., Rafiekian) explicitly, that just meant that he “joined

the bank robbery scheme” later). But that argument is only proper if there was evidence that at

some point “Harry” knowingly joined some other conspiracy. That is what the government argued:

that “Harry decide[d] to join Tom and Dick in another bank robbery.” Tr. Trans. at 1182 (July 22,

2019), ECF No. 351. That argument is inconsistent with the disclosure made in DX66, which

indicates that its information is “without any reference to the defendant or FIG.” DX66 included

no context (temporal or otherwise) in which Rafiekian could have anticipated, or accounted for,

the fact the government would try to use DX66 as additional evidence of guilt.

       In other words, the government effectively invited the jury to convict Rafiekian based in

part on its characterization of DX66, knowing that Rafiekian—who had never seen the underlying

evidence—could not effectively rebut its inculpatory inference.           This Court has already

acknowledged the “substantial danger” that the jury relied on Flynn’s actions in convicting

Rafiekian based on its “use of Defendant’s Exhibit 66”—“even though the information in that

exhibit related solely to Flynn and explicitly excluded Rafiekian.” Mem. Op. at 37, ECF No. 372;

see United States v. Abu Ali, 528 F.3d 210, 255 (4th Cir. 2008) (“There is a stark difference between

ex parte submissions from prosecutors which protect the disclosure of irrelevant, nonexculpatory,

or privileged information, and situations in which the government seeks to use ex parte information

in court as evidence to obtain a conviction”). Indeed, the government has acknowledged that “the

jury could—and did—rationally infer” Rafiekian’s guilt based on DX66. Opp. at 13-14, ECF No.



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365; see id. at 13 (arguing that “[l]astly—and critically—the jury heard” DX66 evidence). Given

that the Government’s case was “very circumstantial” and “very speculative,” Trial Tr. 850:24–

851:2 (July 18, 2019), ECF No. 334, Rafiekian’s inability to rebut the government’s insinuations

may well have tipped the jury’s verdict.

       In response, the government makes the galling assertion that equating Rafiekian with a

bank robber, and suggesting that he “join[ed]” a preexisting conspiracy, was not arguing for an

“inculpatory” inference from DX66. See Opp. at 9 (arguing that although the “government is fairly

entitled to comment on—and argue for—any inculpatory inference that arises from admitted

evidence,” “the government did not even go that far”). But again, this Court has already

recognized the “substantial danger” that the jury “drew inferences against Rafiekian” based on the

government’s argument. Mem. Op. at 37, ECF No. 372. And even the government concedes that

it urged an inculpatory inference its post-trial briefing, see Opp. at 11 (“To be sure, the government

did argue for an inculpatory inference from the exhibit in post-trial briefing . . . ”).         The

government splits hairs in asking the court to differentiate between what it meant to argue and

what the jury rationally inferred from its argument. Its concessions that DX66 was “critical[]”

evidence from which the jury could “rationally infer” guilt is more than enough to demonstrate

prejudice. Opp. at 13-14, ECF No. 365.

       The government also tries to shift blame to Rafiekian for any prejudice caused by DX66.

Opp. at 8. But as noted, DX66 was no ordinary defense evidence; rather, it was a cryptic summary

drafted by the government and produced on the eve of trial apparently because (in theory) it was

helpful to the defense. For that reason, the government’s reliance on Ohler v. United States, 529

U.S. 753 (2000) is misplaced. Ohler involved whether a defendant preserved an admissibility

argument after voluntarily introducing the evidence himself. It did not address the legal issue or



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factual circumstances here, involving whether the government’s prejudicial references to a

deficient CIPA summary demands a new trial.

       Finally, the government contends that its closing argument did not violate Rafiekian’s

“Sixth Amendment confrontation and counsel rights.” Opp. 5. But as noted, CIPA’s procedural

requirements “arise[] out of the Constitution’s” Sixth Amendment guarantees, Sedaghaty, 728 F.3d

at 904-905, and the Fourth Circuit has held that misuse of CIPA evidence at trial may constitute a

Sixth Amendment violation. See Moussaoui, 365 F.3d at 307-308 (holding government’s national

security interest must “give way” to defendant’s Sixth Amendment rights); Abu Ali, 528 F.3d at

255 (holding that government’s furnishing of unredacted CIPA evidence to jury, while not

providing such evidence to the defendant, violated the defendant’s Sixth Amendment rights).

Unlike in Abu Ali, where CIPA-cleared defense counsel had full access to the classified information

and an “unfettered opportunity to challenge the government witnesses”—and where even

uncleared counsel received “the substance of the communications, the dates, and the parties

involved,” 528 F.3d at 254—here Rafiekian and his counsel were left “in a contextual vacuum,”

Fernandez, 913 F.2d at 158, and at the whims of the government’s rebuttal closing. Because CIPA

was designed to protect Rafiekian’s Sixth Amendment rights, if the government violated CIPA,

Rafiekian’s constitutional rights were likely violated, too.

       C.      The Government’s Waiver Argument Is Meritless.

       The government’s waiver argument, made for the first time on remand, is meritless. The

government concedes that where it “does not assert a procedural defense before addressing an

argument on the merits, it has waived the defense of waiver or forfeiture.” Opp. at 2 (citing United

States v. Metzger, 3 F.3d 756, 757 (4th Cir. 1993)). Yet, that is exactly what the government did

on appeal, when it spent multiple pages addressing the “merits” of its argument concerning its use



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of DX66 in closing without raising waiver. See Gov’t CA4 Reply Br. at 33-35 (arguing, in a

section titled “Defendant’s argument is wrong on the merits,” that “Defendant asserts that the

government argued to the jury that the exhibit was inculpatory, but that is not a fair reading. . . .

The government’s rebuttal—its sole reference to DX66—was that the exhibit did not show what

defendant claimed it did.”); see also id. at 33 n.19 (arguing that, though district court did not

address “propriety of the government’s rebuttal,” “defendant has argued the issue [of propriety]

on appeal”). Thus, under the government’s own cited rule, it has “waived the defense of waiver.”

Metzger, 3 F.3d at 757.

       In addition, as this Court knows, it previously reserved “the substantial issues Rafiekian

has raised” regarding the adequacy of DX66 for future decision. United States v. Rafiekian, No.

1:18-cr-457-AJT, 2019 WL 4647254, at *17 n.46 (E.D. Va. Sept. 24, 2019). On appeal, the

government acknowledged that Rafiekian had previously raised arguments related to DX66, and

that the Court had explicitly reserved them. Gov’t CA4 Reply Br. at 32 (acknowledging that

Rafiekian asserted “that the exhibit DX66 was inadequately disclosed”); id. at 33 n.19 (“The

government agrees that the district court reserved whether DX66’s pre-trial disclosures were

adequate; that question is therefore not presented [on appeal].”) (emphasis added). Indeed, at the

hearing on Rafiekian’s original new trial motion, the government directly addressed Rafiekian’s

arguments regarding DX66, and it did so on the merits. See, e.g., Hr’g Tr. 39-40 (Sept. 12, 2019),

ECF No. 368 (“About whether it is inappropriate for the Government to rely on [DX66]. . . . [T]he

Government squarely has the prerogative to comment on the evidence to say -- to suggest to the

jury, this is what we think the evidence shows.”). By failing to raise a timeliness defense before

the district court “rule[d] on a Rule 33 motion,” the government “forfeited” it. United States v.

Jordan, 952 F.3d 160, 171 n.2 (4th Cir. 2020), cert. denied, 141 S. Ct. 1051 (2021) (“[W]here the



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government fails to raise a timeliness defense before a district court rules on a Rule 33 motion, the

defense is forfeited.”) (citing Eberhart v. United States, 546 U.S. 12, 19 (2005)); see United States

v. Urutyan, 564 F.3d 679, 685 (4th Cir. 2009) (“admonish[ing] the Government that failure to

object to untimely submissions entails forfeiture of the objection”). The happenstance of this

Court’s choice to reserve (rather than to rule on) Rafiekian’s arguments at that time was not an

invitation for the government to someday make a waiver argument it had already forfeited.

       Beyond that, the government does not dispute that this Court enjoys discretion to review

arguments raised in reply—particularly where, as here, those arguments respond to the

government’s responsive arguments. Opp. at 13–14, ECF No. 365; see, e.g., Lismont v. Alexander

Binzel Corp., No. 2:12-CV-592, 2013 WL 12098260, at *1 (E.D. Va. June 6, 2013) (“[C]ourts

necessarily may consider new arguments in a movant’s reply where those arguments address issues

raised for the first time in the nonmovant’s response”); United States v. Jurado-Nazario, 979 F.3d

60, 62-63 (1st Cir. 2020) (similar); United States v. Burtons, 696 F. App’x 372, 375-376 (10th Cir.

2017) (similar).1 Instead, the government argues that it “did not have adequate notice that

defendant was claiming the existence of” a new-trial ground related to the government’s use of

DX66 in closing argument. Opp. at 3. But Rafiekian was explicit that the government’s reliance

on DX66 had “invited a new trial on yet another ground.” Def. Rafiekian’s Reply in Further Supp.

of His Rule 29 and Rule 33 Motions at 2, 8-11, ECF No. 366 (emphasis added). Rafiekian could

hardly have been clearer that this was a new ground, not merely an additional argument on

sufficiency. See, e.g., id. at 9-10 (“Rafiekian was unable to effectively rebut the government’s




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         In addition, Rafiekian will be able to raise this argument on appeal. See, e.g., Sedaghaty,
728 F.3d at 907 (“Having been unsuccessful at challenging the substitution before trial, Seda’s
recourse is in this appeal.”). That is yet another reason to reject the suggestion that this Court is
somehow powerless to consider the argument now.

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statement in closing arguments that the classified materials actually supported guilt,” and “[n]ow

that the government has admitted that the jury necessarily ‘did’ rely on this evidence to find him

guilty, Rafiekian’s prejudice is clear”); see also id. at 2 (arguing that “the jury necessarily relied

on this evidence to support its guilty verdict (as the government now admits), then the jury and

Rafiekian should have been afforded access to the underlying classified materials themselves, not

a vague summary supporting guilt by innuendo”); id. at 9–10 (arguing that “it is clear that the

summary failed to ‘provide the defendant with substantially the same ability to make his defense

as would disclosure of the specific classified information.’”) (quoting 18 U.S.C. APP. 3 § 6(c)(1)).

       Finally, a finding of waiver here would not accord either with “the interest of justice,” Fed.

R. Crim. P. 33(a), or with the underlying purposes of the waiver doctrine.        In general, waiver

serves two purposes. First, it avoids placing the opposing party in a position where it is deprived

of any meaningful opportunity to respond. See, e.g., Wilkinson v. United States, 677 F.2d 998,

1002 (4th Cir. 1982) (Declining to consider an argument not raised in opening brief because the

appellee “has never had an opportunity to be heard on [it]”). Second, waiver protects the court

from issuing “an improvident or ill-advised opinion on the legal issues raised” when it did not have

the benefit of the adversarial process. Hunt v. Nuth, 57 F.3d 1327, 1338 (4th Cir. 1995). Neither

purpose is implicated here. The government had a meaningful opportunity to respond: it has

(twice) addressed arguments relating to DX66 on the merits, and has had a full opportunity to brief

and argue the issue now. And because the issue is fully briefed, there is no risk that the court will

issue an “improvident or ill-advised opinion” on the critical underlying legal issues.

II.    THE VERDICT WAS AGAINST THE GREAT WEIGHT OF THE EVIDENCE

       The Fourth Circuit invited this Court to provide “additional justifications for its decision”

to grant a trial on weight-of-the-evidence grounds that may not have been reflected in its original

opinion. United States v. Rafiekian, 991 F.3d 529, 550 (4th Cir. 2021). This Court should therefore
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take the opportunity to reaffirm its prior finding, made shortly after the conclusion of the trial, that

the verdict was indeed against the great weight of the evidence.

       In opposing that outcome, the government relies heavily on the Fourth Circuit’s

characterization of the trial evidence. But the government’s response conflates the Rule 33 new-

trial standard with Rule 29’s far more-deferential one. Unlike the Fourth Circuit, which asked

“whether, after viewing the evidence in the light most favorable to the prosecution, any rational

trier of fact could have found the essential elements of the crime[s] beyond a reasonable doubt,”

Rafiekian, 991 F.3d at 544 (alteration in original), this Court is not “constrained by the requirement

that it view the evidence in the light most favorable to the government,” id. at 549 (quoting United

States v. Arrington, 757 F.2d 1484, 1485 (4th Cir. 1985)); see also id. (the “ʻcriteria for a judgment

of acquittal and for a new trial’ are distinct.”) (quoting Arrington, 757 F.2d at 1486). Instead, this

Court is free to draw inferences unfavorable to the government, consider witness credibility, and

review the exculpatory evidence Rafiekian introduced. See Def. Rafiekian’s Mem. in Supp. of

Renewed Mot. for New Trial at 17, ECF No. 387.

       Ignoring those key distinctions, the government repeatedly relies on the Fourth Circuit’s

characterizations of the evidence in its Rule 29 analysis. See Opp. at 15–21 (relying on evidentiary

“indications” from Fourth Circuit opinion). For example, the government emphasizes the Fourth

Circuit’s observation that the evidence “strongly suggests that an entity other than Alptekin was

actually financing Project Confidence,” and implies that such evidence shows “Turkey’s

involvement.” Id. at 15 (citation omitted). But the Fourth Circuit made that finding (like all of its

findings) while viewing that evidence in the light most favorable to the government. Under no

similar constraint, this Court can and should again reject that inference, and reaffirm its prior

recognition regarding the absence of any evidence “direct or otherwise, sufficient to reasonably



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infer that Turkey funded the engagement of FIG, or that the engagement was not in fact being

funded by a group of Turkish businessmen, as Rafiekian stated consistently throughout.”

Rafiekian, 2019 WL 4647254, at *12–*13.

       Similarly, the government relies upon the Fourth Circuit’s observation that “Rafiekian

carried out Project Truth/Confidence subject to Turkish ‘direction’ conveyed through Alptekin

with reference to the New York meeting and subsequent communications.” Opp. at 15 (internal

quotation and citation omitted). But again, that light-most-favorable-to-the-government finding

conflicts with this Court’s previous observation, made immediately after witnessing the trial, that

there was “no evidence concerning anything said at [the September 19, 2016 meeting in New York]

from which a rational juror could find that Rafiekian had agreed to operate at the direction or

control of the Turkish government,” and that none of the communications between Rafiekian and

Alptekin could “be construed as a request that Rafiekian [act as an agent of the Turkish

government] or an agreement by Rafiekian to do so.” Rafiekian, 2019 WL 4647254, at *12-*13

(emphasis added). This Court should reaffirm, under the Rule 33 standard, its prior conclusions

regarding the absence of evidence of Turkish direction, including (a) the fact that “many others

were involved in determining how to proceed with [FIG’s] work”; (b) “Rafiekian[], FIG[], and

Sphere[] reject[ed] requests or suggestions by Alptekin”; and (c) “FIG and the consultants it

retained based their work on open source research, most of which was conducted by people and

companies other than Rafiekian and FIG,” was “never disseminated, and was to a large degree

duplicative of research that the Turkish government had already hired the law firm Amsterdam &

Partners LLP to perform.” Id. at *14. Moreover, it should also reaffirm its prior finding, on the

same record, of a complete absence of evidence that “the op-ed published by Flynn . . . had been




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requested by the Turkish government . . . or that it was Rafiekian, as opposed to Flynn, who decided

to have the op-ed published at that time.” Id.

       The government also relies upon the Fourth Circuit’s finding that “Rafiekian and

Alptekin’s joint conduct easily establishes that the two agreed to operate—if not explicitly, then

implicitly—subject to Turkish direction.” Opp. at 15 (citation and emphasis omitted). However,

that argument ignores the fact that the Fourth Circuit largely agreed with this Court’s more-

restrictive view of agency. Compare Rafiekian, 2019 WL 4647254, at *9 (“[F]or a person to be an

agent for purposes of Section 951, it is not enough to be acting as ‘a representative of’ or ‘on behalf

of’ a foreign government. That person must, in addition, have agreed ‘to operate subject to the

direction or control of that foreign government’”) with Rafiekian, 991 F.3d at 540-541 (“[T]o be

an ‘agent of a foreign government,’ a person must ‘agree[] to operate . . . subject to [foreign]

direction or control.’ That agreement cannot be one-sided, and a person does not become an ‘agent’

for purposes of § 951 simply by acting in accordance with foreign interests or by privately pledging

allegiance.”) (alterations except first and ellipsis in original) (internal citation omitted). Although

the Fourth Circuit ultimately found the evidence—viewed in the light most favorable to the

government—was sufficient to conclude the existence of an agency relationship, nothing prevents

this Court from reaffirming, under Rule 33’s standard, that “[t]here is no evidence of any actual or

implied agreement between Rafiekian and the government of Turkey or any official of the

government of Turkey.” Rafiekian, 2019 WL 4647254, at *12.

       The absence of any agreement is even more evident when the entire record is considered.

The government gives short shrift to the defense case, which the Fourth Circuit explicitly did not

consider in overturning this Court’s ruling. See Rafiekian, 991 F.3d at 544 n.20 (“Our review is

limited to the evidence presented in the Government’s case-in-chief.”) (emphasis added). As this



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Court already found, Rafiekian’s efforts to comply with registration and notification requirements,

“includ[ing] seeking out legal advice concerning his FARA disclosure obligations in August 2016

(from Covington) and again in September 2016 (from Kelley), and subsequently filing an LDA

disclosure statement pursuant to Kelley’s advice,” undercut “any inference of an agreement by

Rafiekian to act as an undisclosed Turkish agent.” Mem. Op. & Order at 29, ECF No. 292;

Rafiekian, 2019 WL 4647254, at *15. Similarly, as this Court has acknowledged, the defense

evidence about Amsterdam & Partners entering into a similar contract with the Republic of Turkey

and filing a public FARA form disclosing that contract undercuts the government’s theory that

Turkey sought to hide its interest in exposing Gulen. See Renewed Mot. for New Tr. at 21, ECF

No. 387. Contrary to the government’s suggestions, these “conflict[s]” between the government

and defense theories are anything but “clear-cut.” Opp. at 21 (citing United States v. Martinez,

763 F.2d 1297, 1314 (11th Cir. 1985)).

        Although the government begrudgingly acknowledges that “this Court does possess some

discretion to weight the evidence under Rule 33,” its view of the Court’s discretion as “sharply

cabined” renders it, in reality, no discretion at all. Opp. 13 (emphasis added); see Opp. at 16

(arguing that a new trial is limited only to the most extraordinary cases, such as where evidence

was “patently incredible,” where the credibility of the government’s witnesses has been

impeached, or where there was an error that affected the reliability of evidence). But Rule 33’s

plain text, which permits new trials “in the interest of justice,” belies the government’s attempt to

narrow this Court’s discretion to the vanishing point. See United States v. Jennings, 438 F. Supp.

2d 637, 642 (E.D. Va. 2006), aff’d, 496 F.3d 344 (4th Cir. 2007) (“plain meaning” of the phrase

“the interest of justice” makes “clear that granting a new trial is discretionary,” and “this discretion

should be exercised where it is demonstrated that the fundamental fairness or integrity of the trial



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result is substantially in doubt”); United States v. Souder, 436 F. App’x 280, 290 (4th Cir. 2011)

(noting that while a “district court should exercise its discretion to grant a new trial sparingly . . .

we evaluate such a ruling against the backdrop of the district court’s broad power to independently

weigh the evidence when considering such a motion, as well as the deferential standard of review

we must apply to that decision”) (internal quotations and citation omitted).

        Regardless, this Court has already found once that the government’s “very speculative”

case satisfies Rule 33’s standards, and nothing in the Fourth Circuit’s opinion—which invited

“additional justifications” due to a lack of “further elaboration” on this point—should change that

conclusion. Indeed, the special circumstances here—including the effect of the government’s use

of DX66 as affirmative evidence of guilt in closing argument, its last-minute tactical change-of-

position as to Flynn’s role in the conspiracy, and its (and President Trump’s) subsequent treatment

of Flynn after he pleaded guilty to an unrelated crime, only bolster the case for why a new trial is

necessary in the interests of justice. See United States v. Pernell, No. 3:09-cr-452, 2014 WL

2002210, at *6 (E.D. Va. May 15, 2014) (granting new trial based on introduction of inadmissible

evidence where “evidence offered to support the conviction was circumstantial,” and “[a]lthough

the evidence was sufficient to send the case to the jury, the verdict could have gone either way”).

III.    THE GOVERNMENT IMPROPERLY SHIFTED THE BURDEN TO THE
        DEFENDANT

        A new trial is also warranted because the government improperly made arguments shifting

the burden of proof to Rafiekian, and the remarks “so prejudiced [Rafiekian’s] substantial rights

that [he] was denied a fair trial.” United States v. Saint Louis, 889 F.3d 145, 156 (4th Cir. 2018).

In first eliciting burden-shifting testimony from Special Agent Alfredo, and then later referring to

those remarks in suggesting that Rafiekian had failed to come forward with a “shred of evidence”




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of his innocence, the government’s improper burden-shifting arguments could have made the

difference between a verdict of guilty and an acquittal.

       Contrary to the government’s assertions, the factors laid out in United States v. Wilson, 135

F.3d 291 (4th Cir. 1998), do not “strongly favor” the government. See Opp. at 27-28. First, the

government’s improper arguments were not isolated; instead, they were made first in the

questioning of Special Agent Alfredo and later in closing argument. See Trial Tr. 785:14–17 (July

18, 2019), ECF No. 333; Trial Tr. 1181:10-13 (July 23, 2019), ECF No. 351. Nor did the Court

give any curative instructions following the government’s improper questioning of Special Agent

Alfredo. Second, there is no suggestion that any of the government’s remarks were invited by any

improper conduct by defense counsel. Third, the Court’s curative instructions were insufficient to

specifically address or correct the government’s improper arguments. See Trial Tr. 1189:19-23

(July 23, 2019), ECF No. 351. Finally, the Fourth Circuit has held that these factors are to be

examined in the context of the entire trial, and that no one factor is dispositive. See United States

v. Lighty, 616 F.3d 321, 361 (4th Cir. 2010). Viewing the government’s comments within the

context of the entire trial, particularly in light of the government’s circumstantial and speculative

case, the remarks prejudiced Rafiekian’s substantial rights and denied him a fair trial. The Court

should grant a new trial in light of the government’s error.

                                         CONCLUSION

       For all of the foregoing reasons, Defendant Bijan Rafiekian respectfully moves this Court

to grant him a new trial under Federal Rule of Criminal Procedure 33.

Dated: October 18, 2021                               Respectfully submitted,

                                                      /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on the 18th day of October 2021, true and genuine copies of Defendant

Bijan Rafiekian’s Reply in Support of his Renewed Motion for New Trial was sent via electronic

mail by the Court’s CM/ECF system to the following:

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